



















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







WR-63,066-02






DANNY JOE BEAN, Relator



v.



JUDGE, 29TH JUDICIAL DISTRICT COURT, Respondent








ON APPLICATION FOR A WRIT OF MANDAMUS 


FROM PALO PINTO COUNTY






		Per curiam.



O R D E R




	This is an original application for a writ of mandamus.  Relator contends that he filed
an application for writ of habeas corpus in the 29th Judicial District Court on April 19, 2005,
in cause number 10536, but more than thirty-five days have elapsed and the application has
not been forwarded to the Court of Criminal Appeals.  Relator also alleges that an order
designating issues was entered April 27, 2005.

	It is this Court's opinion that additional information is required before a decision can
be reached on the motion for leave to file the instant action.  The respondent, Judge of the
29th Judicial District Court of Palo Pinto County, is ordered to file a response with this Court
within thirty days by having the district clerk submit the record on such habeas corpus
application or by setting out the reasons that findings have not been made in the period
since the order designating issues was entered.  This application for writ of mandamus is
held in abeyance pending compliance with this order.

	IT IS SO ORDERED this the 8th day of February, 2006.


DO NOT PUBLISH


